             Case 3:13-cv-03826-EMC Document 932 Filed 04/19/19 Page 1 of 20



1    SHANNON LISS-RIORDAN, SBN 310719
     (sliss@llrlaw.com)
2
     ADELAIDE PAGANO, pro hac vice
3    (apagano@llrlaw.com)
     LICHTEN & LISS-RIORDAN, P.C.
4    729 Boylston Street, Suite 2000
     Boston, MA 02116
5
     Telephone:     (617) 994-5800
6    Facsimile:     (617) 994-5801

7    Attorneys for Plaintiffs
8

9
                                  UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11   MATTHEW MANAHAN and                            Case No. CV 13-3826-EMC
12   ELIE GURFINKEL,

13                  Plaintiffs,                     FIFTH AMENDED CLASS ACTION
14                                                  COMPLAINT
     v.
15
     UBER TECHNOLOGIES, INC,                        CASE FILED: AUGUST 16, 2013
16
                    Defendant.
17                                                  BEFORE THE HON. EDWARD M. CHEN

18

19

20

21

22

23

24

25

26

27                                                 1
                                  FIFTH AMENDED CLASS ACTION COMPLAINT
28
              Case 3:13-cv-03826-EMC Document 932 Filed 04/19/19 Page 2 of 20



1
     I.      INTRODUCTION
2
                     1.      This case is brought on behalf of individuals who have worked as Uber
3
          drivers in California. Uber is a car service that provides drivers who can be hailed and
4
          dispatched through a mobile phone application. As set forth below, Uber has advertised to
5
          customers that gratuity is included in the cost of its car service. However, Uber drivers do
6
          not receive the total proceeds of any such gratuity. Instead, they receive only a portion of
7
          such gratuity, if any is charged to the customer.
8
                     2.      Plaintiffs bring this action on their own behalf, and on behalf of other
9

10
          similarly situated Uber drivers, for violation of the California Unfair Competition Law, Cal.

11        Bus. & Prof. Code § 17200 et seq. (“UCL”) and § 17500, based upon Uber’s violation of the

12        California Gratuities Law, California Labor Code Section 351, and failure to remit to drivers

13        the entire gratuity paid by customers or that customers would otherwise intend to leave for

14        them.

15                   3.      Plaintiffs further bring this action on behalf of Uber drivers for unjust
16        enrichment, conversion, and fraud, based upon Uber's failure to remit to drivers the entire
17        gratuity paid by customers, or alternatively for Uber causing the drivers not to receive tips
18        they would otherwise receive based on Uber's communications to customers that the gratuity
19        is already included in the price of the car service and that there is no need to tip the drivers.
20                   4.      In addition, Plaintiffs bring this action on behalf of Uber drivers who have
21
          been misclassified as independent contractors and thereby required to pay business expenses
22
          (such as for their vehicles, gas, and maintenance) in violation of California Labor Code
23
          Sections 450 and 2802.
24
                     5.      Likewise, Plaintiffs bring this action on behalf of Uber drivers for a
25
          number of other Labor Code violations stemming from their misclassification as independent
26
          contractors, including but not limited to: knowing and willful misclassification of drivers as
27                                                 2
                                  FIFTH AMENDED CLASS ACTION COMPLAINT
28
         Case 3:13-cv-03826-EMC Document 932 Filed 04/19/19 Page 3 of 20



1
     independent contractors in violation of Cal. Labor Code §§ 226.8 and 2753, requiring
2
     employees or applicants to agree to terms or conditions of employment that Uber knows to
3
     be prohibited by law in violation of Cal. Lab. Code § 432.5, failure to remit gratuities to
4
     drivers in violation of Cal. Lab. Code § 351, failure to reimburse drivers for all necessary
5
     expenditures incurred in direct consequence of their duties in violation of Cal. Lab. Code
6
     §§ 450 and 2802, unlawful deductions in violation of Cal. Labor Code §§ 221-224, failure to
7
     pay wages due at termination in violation of Cal. Labor Code §§ 201-203, 204, and 210,
8
     failure to pay minimum wage for all hours worked in violation of Cal. Labor Code §§ 1194,
9

10
     1197, 1182, failure to pay overtime in violation of Cal. Labor Code §§ 510, 1194, 1198,

11   failure to provide required meal periods in violation of Cal. Labor Code §§ 226.7 and 512,

12   failure to provide required rest periods in violation of Cal. Labor Code §§ 226.7, failure to

13   keep accurate records in violation of Cal. Labor Code §§ 353 and 1174.5, failure to provide

14   itemized wage statements in violation of Cal. Labor Code § 226, failure to provide paid sick

15   leave in violation of in violation of Cal. Labor Code §§ 245-249, failure to provide drivers at
16   least one day off in seven, in violation of Cal. Labor Code §§ 550-552, and UCL claims
17   predicated on violations of Cal Labor Code §§ 3700, 3700.5, 3712, and 3715 for failing to
18   purchase workers' compensation insurance for drivers.
19              6.      Furthermore, as described further below, Defendant has misclassified
20   Plaintiffs and other similarly situated drivers as independent contractors and, in so doing,
21
     violated the federal Fair Labor Standard Act (“FLSA”), 29 U.S.C. §§ 201 et seq., by failing
22
     to pay them minimum wage and for all time worked and overtime for all hours worked in
23
     excess of forty per week. Plaintiffs bring this claim under the FLSA on behalf of all
24
     similarly situated employees within the state of California who may choose to opt in to this
25
     action pursuant to 29 U.S.C. § 216(b).
26

27                                           3
                            FIFTH AMENDED CLASS ACTION COMPLAINT
28
                Case 3:13-cv-03826-EMC Document 932 Filed 04/19/19 Page 4 of 20



1
            II. PARTIES
2
                       7.        Plaintiff Matthew Manahan is an adult resident of Los Angeles, California,
3
            where he has worked as an Uber driver.
4
                       8.        Plaintiff Elie Gurfinkel is an adult resident of San Diego, California,
5
            where he has worked as an Uber driver.
6
                       9.        The above-named plaintiffs have brought this action on their own behalf
7
            and on behalf of all others similarly situated, namely all other individuals who have accepted
8
            a request using the Uber software application in the state of California.
9

10
                       10.       Defendant Uber Technologies, Inc. (“Uber”) is a corporation

11          headquartered in San Francisco, California.

12   III.      JURISDICTION

13                     11.       This Court has jurisdiction over the state law claims asserted here pursuant

14          to the Class Action Fairness Act, 28 U.S.C. § 1332(d)(2), since Defendant is a California

15          citizen and, upon the original filing of this complaint, members of the putative plaintiff class
16          resided in states around the country; there are more than 100 putative class members; and the
17          amount in controversy exceeds $5 million.
18                     12.       Furthermore, this Court has general federal question jurisdiction over the
19          FLSA claims pursuant to 28 U.S.C. § 1331 since Plaintiff has brought claims pursuant to the
20          federal Fair Labor Standards Act, 29 U.S.C. § 201 et seq.
21

22
     IV.       STATEMENT OF FACTS
23
                       13.       Uber provides car service in cities throughout the country via an on
24
            demand dispatch system.
25
                       14.       Uber offers customers the ability to hail a car service driver on a mobile
26
            phone application.
27                                                   4
                                    FIFTH AMENDED CLASS ACTION COMPLAINT
28
         Case 3:13-cv-03826-EMC Document 932 Filed 04/19/19 Page 5 of 20



1
                   15.   Uber’s website has advertised that “Uber is your on-demand private
2
     driver.”
3
                   16.   Uber has stated to customers, on its website, and in marketing materials,
4
     that a gratuity is included in the total cost of the car service and that there is no need to tip the
5
     driver.
6
                   17.   However, Uber drivers have not received the total proceeds of this
7
     gratuity.
8
                   18.   Instead, Uber has retained a portion of the gratuity for itself.
9

10
                   19.   For all drivers except drivers who use UberTAXI, Uber has not specified

11   the amount of the gratuity.

12                 20.   However, it is customary in the car service industry for customers to leave

13   approximately a 20% gratuity for drivers. Thus, where the amount of the gratuity is not

14   specified, reasonable customers would assume that the gratuity is in the range of 20% of the

15   total fare.
16                 21.   As a result of Uber’s conduct and actions in informing customers that
17   gratuity is included in the cost of its service, and that there is no need to tip the drivers, but
18   then not remitting the total proceeds of the gratuity to the drivers, Uber drivers have been
19   deprived of payments to which they are entitled, and to which reasonable customers would
20   have expected them to receive.
21
                   22.   Although classified as independent contractors, Uber drivers are
22
     employees. They are required to follow a litany of detailed requirements imposed on them
23
     by Uber and they are graded, and are subject to termination, based on their failure to adhere
24
     to these requirements (such as rules regarding their conduct with customers, the cleanliness
25
     of their vehicles, their timeliness in picking up customers and taking them to their
26
     destination, what they are allowed to say to customers, etc.).
27                                            5
                             FIFTH AMENDED CLASS ACTION COMPLAINT
28
              Case 3:13-cv-03826-EMC Document 932 Filed 04/19/19 Page 6 of 20



1
                      23.       In addition, Uber is in the business of providing car service to customers,
2
          and that is the service that Uber drivers provide. The drivers’ services are fully integrated
3
          into Uber’s business, and without the drivers, Uber’s business would not exist.
4
                      24.       However, based on their misclassification as independent contractors,
5
          Uber drivers are required to bear many of the expenses of their employment, including
6
          expenses for their vehicles, gas, and other expenses. California law requires employers to
7
          reimburse employees for such expenses, which are for the benefit of the employer and are
8
          necessary for the employees to perform their jobs.
9

10

11   V.       CLASS ACTION ALLEGATIONS

12                    25.       The class representatives have brought this action as a class action

13        pursuant to Rule 23 of the Federal Rules of Civil Procedure on behalf of all drivers who have

14        ever accepted a request using the Uber software application in the state of California.

15                    26.       The class representatives and other class members have uniformly been
16        deprived of gratuities that were not remitted to them, expense reimbursement, and other
17        protections of employment.
18                    27.       The members of the class are so numerous that joinder of all class
19        members is impracticable.
20                    28.       Common questions of law and fact regarding Uber’s conduct with respect
21
          to gratuities exist as to all members of the class and predominate over any questions affecting
22
          solely any individual members of the class. Among the questions of law and fact common to
23
          the class are:
24
                           a. Whether Defendant has charged customers a gratuity for class members’
25
                              services;
26

27                                                  6
                                   FIFTH AMENDED CLASS ACTION COMPLAINT
28
             Case 3:13-cv-03826-EMC Document 932 Filed 04/19/19 Page 7 of 20



1
                      b. Whether Defendant has failed to distribute the total proceeds of those
2
                          gratuities to the class members;
3
                      c. Whether Defendant has informed customers that gratuity is included in the
4
                          price of the Uber service and so there is no need to tip their drivers;
5
                      d. Whether class members have suffered damages based upon Uber’s
6
                          representation to customers that tips are included but not distributing them
7
                          to the drivers.
8
                    29.     Common questions of law and fact also exist as to members of the class
9

10
        who have been misclassified as independent contractors. Among the questions of law and

11      fact that are common to these drivers are:

12                    a. Whether class members have been required to follow uniform procedures

13                        and policies regarding their work for Uber;

14                    b. Whether the work performed by class members—providing car service to

15                        customers—is within Uber’s usual course of business, and whether such
16                        service is fully integrated into Uber’s business;
17                    c. Whether these class members have been required to bear the expenses of
18                        their employment, such as expenses for their vehicles, gas, and other
19                        expenses.
20                  30.     The class representatives are members of the class, who suffered damages
21
     as a result of Defendant’s conduct and actions alleged herein.
22
                    31.     The class representatives’ claims are typical of the claims of the class and
23
     have the same interests as the other members of the class.
24
                    32.     The class representatives will fairly and adequately represent and protect
25
        the interests of the class. The class representatives have retained able counsel experienced in
26

27                                               7
                                FIFTH AMENDED CLASS ACTION COMPLAINT
28
            Case 3:13-cv-03826-EMC Document 932 Filed 04/19/19 Page 8 of 20



1
        class action litigation. The interests of the class representatives are coincident with, and not
2
        antagonistic to, the interests of the other class members.
3
                   33.     The questions of law and fact common to the members of the class
4
        predominate over any questions affecting only individual members, including legal and
5
        factual issues relating to liability and damages.
6
                   34.     A class action is superior to other available methods for the fair and
7
        efficient adjudication of this controversy because joinder of all class members is impractical.
8
        Moreover, since the damages suffered by individual members of the class may be relatively
9

10
        small, the expense and burden of individual litigation makes it practically impossible for the

11      members of the class individually to redress the wrongs done to them. The class is readily

12      definable and prosecution of this action as a class action will eliminate the possibility of

13      repetitive litigation. There will be no difficulty in the management of this action as a class

14      action.

15

16   VII.   THE COLLECTIVE ACTION
17                 35.     Plaintiffs bring the seventeenth and eighteenth causes of action on behalf
18      of themselves and all other Uber drivers who have ever accepted a request using the Uber
19      software application in the state of California.
20                 36.     Plaintiffs bring this count under 29 U.S.C. § 216(b) of the Fair Labor
21
        Standards Act. Plaintiffs and other Uber drivers are similarly situated in that they are all
22
        subject to Uber’s common plan or practice of failing to pay the federal minimum wage for all
23
        hours worked and overtime for hours worked by drivers in excess of forty (40) in a given
24
        week.
25

26

27                                              8
                               FIFTH AMENDED CLASS ACTION COMPLAINT
28
         Case 3:13-cv-03826-EMC Document 932 Filed 04/19/19 Page 9 of 20



1                                             COUNT I
2
         Unfair Competition in Violation of California Business and Professions Code
3                                      § 17200 et seq.

4                  37.   Defendant’s conduct, as set forth above, violates the California Unfair

5    Competition Law, Cal. Bus. & Prof. Code § 17200 et seq. (“UCL”). Defendant’s conduct

6    constitutes unlawful business acts or practices, in that Defendant has violated California

7    Business and Professions Code Section 17500 and California Labor Code Sections 351, 353,
8    432.5, 450, 2802, 3700.5, 3712, 3715, 3700, and 226.8.
9                  38.   As a result of Defendant’s unlawful conduct and violation of California
10   Business and Professions Code Section 17500 and Cal. Labor Code §§ 351 and 353,
11   Plaintiffs and class members suffered injury in fact and lost money and property, including,
12   but not limited to loss of gratuities to which they were entitled and customers expected them
13
     to receive.
14
                   39.   As a result of Defendant’s unlawful conduct and violation of Cal. Labor
15
     Code §§ 450 and 2802, Plaintiffs and class members suffered injury in fact and lost money
16
     and property, including, but not limited to loss of business expenses that drivers were
17
     required to pay in order to do their jobs.
18
                   40.   As a result of Defendant’s unlawful conduct and violation of Cal. Labor
19
     Code §3700.5, 3712, 3715, 3700, and 226.8, Plaintiffs and class members suffered injury in
20
     fact because they were required to self-insure against any accidents or harm while Defendant
21
     gained an unfair competitive advantage over its competitors by avoiding the need to pay for
22
     worker’s compensation insurance for its drivers.
23
                   41.   As a result of Defendant’s unlawful conduct and violation of Cal. Labor
24
     Code § 432.5, Plaintiffs and class members suffered injury in fact because they were required
25

26
     to agree to terms and conditions in their agreements with Uber that are prohibited by law.

27                                           9
                            FIFTH AMENDED CLASS ACTION COMPLAINT
28
        Case 3:13-cv-03826-EMC Document 932 Filed 04/19/19 Page 10 of 20



1
     Pursuant to Cal. Labor Code § 2804, any contract or agreement made by Plaintiffs to waive
2
     rights and benefits conferred by California law is null and void.
3
                42.     Pursuant to California Business and Professions Code § 17203, Plaintiffs
4
     and class members seek declaratory and injunctive relief for Defendant’s unlawful conduct
5
     and to recover restitution. Pursuant to California Code of Civil Procedure § 1021.5,
6
     Plaintiffs and class members are entitled to recover reasonable attorneys’ fees, costs, and
7
     expenses incurred in bringing this action.
8
                                             COUNT II
9

10    Independent Contractor Misclassification and Expense Reimbursement Violation
                     (Cal. Labor Code §§ 226.8, 450, 2753, and 2802)
11
                43.     As set forth above, Defendant knowingly misclassified drivers as
12
     independent contractors in violation of California Labor Code Sections 226.8 and 2753.
13
     Further, Defendant’s conduct, in misclassifying Uber drivers as independent contractors and
14
     failing to reimburse them for expenses they paid that should have been borne by their
15
     employer, constitutes a violation of California Labor Code Sections 450 and 2802.
16

17

18
                                            COUNT III

19
                 Unlawful Deductions (Cal. Labor Code §§ 221-224, 225.5, 227)

20              44.     Cal. Labor Code §§ 221 and 224 provide that an employer may only

21   lawfully withhold amounts from an employee’s wages when (1) required or empowered to do

22   so by state or federal law; (2) when a deduction is expressly authorized in writing by the

23   employee to cover insurance premiums, benefit plan contributions, or other deductions not

24   amounting to a rebate on the employee’s wages; or (3) when a deduction to cover health,
25   welfare or pension contributions is expressly authorized by a wage or collective bargaining
26   agreement. Cal. Labor Code § 222.5 prohibits an employer from deducting from an
27                                           10
                            FIFTH AMENDED CLASS ACTION COMPLAINT
28
         Case 3:13-cv-03826-EMC Document 932 Filed 04/19/19 Page 11 of 20



1
      employee’s pay the cost of employer- or state-required physical or medical examinations,
2
      and Cal. Labor Code § 227 makes it illegal for an employer to fail to remit certain
3
      withholdings to the proper payee willfully or with an intent to defraud.
4
                  45.    Furthermore, Cal. Labor Code § 223 provides that it is unlawful for an
5
      employer to pay a lower wage while purporting to pay the wage designated by statute or
6
      contract.
7
                  46.    Defendant’s conduct as alleged herein has violated Cal. Labor Code
8
      §§ 221-224 insofar as Defendant has deducted the costs of equipment and tools necessary for
9

10
      rendering services, as well as costs associated with property damage. In addition to all other

11    remedies afforded by law, Defendants are subject to civil penalties pursuant to Cal. Labor

12    Code § 225.5.

13                                            COUNT IV

14   Failure to Pay Wages Due at Termination (Cal. Labor Code §§ 201-203, 204, 206.5, 208,

15                                             210, 227.3)
16                47.    Defendant’s actions as set forth herein violate Labor Code § 204, which
17    requires that Defendant pay all wages due upon the termination of any class member who has
18    since stopped working for Uber, and § 227.3, which requires that Defendant pay the cash
19    value of all vested but unused vacation time upon termination. Certain members of the class
20    have been terminated by Uber, but Uber has willfully failed to make immediate payment of
21
      the full wages due to these drivers as required under California state law.
22
                  48.    Pursuant to Cal. Labor Code §§ 204, 218, 218.5 and 218.6, Plaintiffs are
23
      entitled to payment of unpaid wages or compensation, including interest thereon, as well as
24
      reasonable attorneys' fees, and costs of suit.
25

26

27                                            11
                             FIFTH AMENDED CLASS ACTION COMPLAINT
28
        Case 3:13-cv-03826-EMC Document 932 Filed 04/19/19 Page 12 of 20



1
                                             COUNT V
2
       Minimum Wage (Cal. Labor Code §§ 1194, 1197, 1197.1 1182.12, Wage Order 9)
3
                 49.     Plaintiffs allege that they worked at rates below the state minimum wage.
4
     Pursuant to Cal. Lab. Code §§ 218.5 and 218.6, 1194, 1194.2, and 1194.3, any employee
5
     receiving less than the legal minimum wage or the legal overtime compensation applicable to
6
     the employee is entitled to recover in a civil action the unpaid balance of the full amount of
7
     this minimum wage or overtime compensation, including interest thereon, reasonable
8
     attorneys’ fees, and costs of suit.
9

10
                 50.     Cal. Lab. Code § 1197 states that the minimum wage is that set by the

11   commission in the applicable wage order, in this case Wage Order 9. Wage Order 9

12   incorporates by reference the minimum wage set by statute.

13               51.     Uber failed to pay Plaintiffs and class members minimum wage.

14   Defendant’s actions as set forth herein violate Labor Code §§ 1194, 1197, 1197.1, and

15   1182.12 because Defendant compensated Plaintiffs at rates so low that they fell below the
16   state minimum wage.
17                                          COUNT VI
18               Overtime (Cal. Labor Code §§ 510, 1194, 1198, Wage Order 9)
19               52.     Cal. Lab. Code § 1198 and Wage Order 9 require employers to pay their
20   employees at their overtime rate of pay for hours worked in excess of eight per day and/or 40
21
     per week.
22
                 53.     Defendant’s actions as set forth herein violate Cal. Labor Code §§ 510,
23
     1194, 1198 because Defendants have failed to pay overtime compensation to Plaintiffs and
24
     class members when due for all hours worked over forty (40) per week, or over eight per day.
25

26

27                                            12
                             FIFTH AMENDED CLASS ACTION COMPLAINT
28
         Case 3:13-cv-03826-EMC Document 932 Filed 04/19/19 Page 13 of 20



1                                             COUNT VII
2    Meal and Rest Breaks (Cal. Labor Code §§ 226.7, 512, 551, 552, 558 and Wage Order 9)
3                54.     Wage Order 9 and Cal. Lab. Code § 226.7 require employers to provide all
4     employees with one 10-minute duty-free rest period for every four hours worked each day, or
5     major fraction thereof. Likewise, Cal. Lab. Code § 512 and Wage Order 9 require employers
6
      to provide all employees with one 30-minute duty-free meal period if such employee works
7
      more than five hours in one day and a second 30-minute duty-free meal period if such
8
      employee works more than ten hours in one day. In addition, Cal. Lab. Code §§ 551 and 552
9
      precludes an employer from causing an employee to work more than six days in seven.
10
                 55.     Defendant has failed to provide the requisite duty-free meal and rest
11
      periods to Plaintiffs and class members as required by California state law. Accordingly,
12
      Plaintiffs and members of the class are entitled to one hour of pay at their regular rate of pay
13
      for each day on which they were not provided with a 10-minute duty-free rest period and one
14
      hour of pay at their regular rate of pay for each day on which they were not provided with a
15
      30-minute duty-free meal period, plus interest. Plaintiffs are also entitled to civil penalties
16
      for days in which they worked more than six days in seven pursuant to Cal. Lab. Code § 558,
17

18
      as well as interest upon unpaid wages or compensation, reasonable attorney’s fees, and costs

19
      of suit pursuant to Cal. Labor Code §§ 218.5 and 218.6.

20                                           COUNT VIII
21   Failure to Keep Accurate Records and Provide Itemized Wage Statements (Cal. Labor
22
                             Code §§ 226, 353, 1174, and 1174.5)
                 56.     Labor Code § 353 requires that every employer in California maintain
23

24
      “accurate records of all gratuities received by him, whether received directly from the

25    employee or indirectly by means of deductions from the wages of the employee or otherwise.

26    Such records shall be open to inspection at all reasonable hours by the department.”

27                                            13
                             FIFTH AMENDED CLASS ACTION COMPLAINT
28
        Case 3:13-cv-03826-EMC Document 932 Filed 04/19/19 Page 14 of 20



1
     Similarly, Labor Code § 1174(d) requires that every employer in California maintain “payroll
2
     records showing the hours worked daily by and the wages paid to, and the number of piece-
3
     rate units earned by and any applicable piece rate paid to, employees employed” in
4
     California. In addition, Cal. Lab. Code § 1174(d) requires that these records “be kept in
5
     accordance with rules established for this purpose by the [Industrial Welfare] commission.”
6
     Rules established by the commission, Wage Order 9, § 7, require that every employer in
7
     California “keep accurate information with respect to each employee,” including without
8
     limitation, “time records showing when the employee begins and ends each work period,” as
9

10
     well as “[m]eal periods, split shift intervals and total daily hours worked.”

11               57.     Moreover, Defendant’s action as set forth herein constitute a violation of

12   Cal. Labor Code § 226, because Uber unlawfully failed to provide Plaintiffs and members of

13   the putative class with accurate itemized wage statements in writing showing gross wages

14   earned, total hours worked, deductions, net wages earned, pay period, the name of the

15   employee and the last four digits of his or her social security number, the legal name of the
16   employer, and/or all applicable hourly rates. Uber further failed to comply with current or
17   former employees’ requests to inspect or copy records, in violation of Labor Code Section
18   226(c).
19               58.     Because Defendant knowingly and intentionally failed to provide timely,
20   accurate, itemized wage statements to Plaintiffs as required by Labor Code Section 226(a),
21
     and such failure has caused injury to Plaintiffs by preventing them from accurately knowing
22
     the amount of wages to which they are and were entitled, Plaintiffs and each member of the
23
     putative class are entitled to recover fifty dollars for the initial pay period in which a
24
     violation of § 226 occurred, and one hundred dollars for each violation of § 226 in a
25
     subsequent pay period, not to exceed a penalty of four thousand dollars per member of the
26
     putative class plus attorney fees, costs, and injunctive relief. Uber is also subject to statutory
27                                            14
                             FIFTH AMENDED CLASS ACTION COMPLAINT
28
        Case 3:13-cv-03826-EMC Document 932 Filed 04/19/19 Page 15 of 20



1
     penalties pursuant to Cal. Lab. Code § 226.3. Likewise, Uber has failed to maintain accurate
2
     records in compliance with Cal. Lab. Code §§ 353 and 1174. Accordingly, Plaintiffs are
3
     entitled to collect and seek a civil penalty from Uber in the amount of $500 pursuant to Cal.
4
     Lab. Code § 1174.5.
5
                                            COUNT IX
6
               Failure to provide Paid Sick Leave (Cal. Labor Code §§ 245-249)
7
                59.     Cal. Labor Code § 246 provides that an employer must provide any
8
     employee who, on or after July 1, 2015, works in California for the same employer for 30
9

10
     days or more within a year from the start of employment, with paid sick days.

11              60.     Plaintiffs and members of the class accrued a certain number of paid sick

12   days and were entitled to use these accrued paid sick days for purposes enumerated in Labor

13   Code section 246.5(a)(l)-(2). Uber violated the requirement of Cal. Labor Code § 246 when

14   it failed to implement policies and procedures that would allow Plaintiffs to accrue and use

15   paid sick days when permitted.
16              61.     Accordingly, pursuant to Labor Code §§ 248.5 and 558, Plaintiffs and
17   class members are entitled to the payment of sick days unlawfully withheld from them
18   multiplied by three; or two hundred fifty dollars ($250), whichever amount is greater.
19   Likewise, pursuant to Labor Code §§ 248.5 and 558, Plaintiffs and class members are
20   entitled to additional penalties, not to exceed an aggregate penalty of four thousand dollars
21
     ($4,000), as liquidated damages in the amount of fifty dollars ($50) to each Plaintiff or class
22
     member.
23
                                             COUNT X
24
                         Failure to Pay Reporting Time (Wage Order 9)
25
                62.     Wage Order 9, § 5, requires that for each workday that a California
26
     employee is required to report for work and does report, but is either not put to work or is
27                                           15
                            FIFTH AMENDED CLASS ACTION COMPLAINT
28
         Case 3:13-cv-03826-EMC Document 932 Filed 04/19/19 Page 16 of 20



1
      furnished less than half of that employee’s usual or scheduled day’s work, each such
2
      employee must be paid an amount equal to half of his or her usual or scheduled day’s pay, or
3
      in any event must be paid an amount equal to 2 hours at the employee’s regular rate of pay.
4
                 63.     Plaintiffs and members of the putative class, have periodically been
5
      required to report for work but have either not been put to work, or have been furnished with
6
      less than half of his or her usual or scheduled day’s work. Accordingly, Plaintiffs and
7
      members of the putative class or an identifiable subset thereof are entitled to and seek
8
      payment from Uber of compensation pursuant to Wage Order 9, § 5, plus interest.
9

10
                                             COUNT XI
11
     Failure to Post Pay Days and to Pay in Cash-Negotiable Instruments (Cal. Labor Code
12
                                           §§ 207, 212, 213)
13
                 64.     Cal. Labor Code § 207 requires an employer to post in a conspicuous
14
      place a notice specifying the regular pay days and time and place of payment. Cal. Labor
15
      Code §§ 212 and 213 require payment in negotiable, cash-equivalent instruments.
16
                 65.     Defendant has not provided such public, posted notice as required by Cal.
17
      Labor Code § 207. Defendant has provided compensation in a manner prohibited under Cal.
18
      Labor Code §§ 212 and 213.
19

20
                                             COUNT XII

21                     Common Counts – Restitution or Unjust Enrichment
22               66.     Plaintiffs reallege and incorporate by reference the allegations in the
23    preceding paragraphs as if fully alleged herein.
24               67.     Defendant has been unjustly enriched as a result of the conduct described
25    in this Complaint and other inequitable conduct. Defendant has failed to reimburse drivers
26    for expenses and accepted payment of gratuities to which Plaintiffs are entitled and
27                                            16
                             FIFTH AMENDED CLASS ACTION COMPLAINT
28
        Case 3:13-cv-03826-EMC Document 932 Filed 04/19/19 Page 17 of 20



1
     customers expected Plaintiffs to receive, and Defendant and/or its affiliates has retained all or
2
     a portion of the money it otherwise would have paid to reimburse drivers for expenses and
3
     also the unlawfully retained gratuities, and refused to remit them to Plaintiffs.
4
                 68.     Retention of these expenses and gratuities by Defendant would be unjust
5
     and inequitable. The gratuities that Defendant and/or its affiliates received were not
6
     legitimately earned by Defendant, and came at the expense of Plaintiffs, to whom customers
7
     expected the gratuities to be paid.
8
                 69.     Defendant is guilty of malice, oppression, and/or fraud through its willful
9

10
     and conscious disregard for Plaintiffs’ rights, and through its intentional retention of

11   gratuities meant for Plaintiffs. Defendant’s willful and conscious disregard for Plaintiffs’

12   rights created an unjust hardship for Plaintiffs.

13               70.     As a result of Defendant’s unjust enrichment, Plaintiffs seek restitution

14   and disgorgement of all gratuities, tips, money that should have been reimbursed to drivers

15   for expenses, or additional compensation Defendant received from customers that customers
16   expected Plaintiffs to receive. Additionally, Plaintiffs are entitled to exemplary damages in
17   connection with this cause, or these causes, of action.
18

19                                           COUNT XIII
20                                            Conversion
21
                 71.     Defendant intentionally and unlawfully took Plaintiffs' property, namely
22
     tips and money for expenses, without Plaintiffs' permission.
23
                 72.     Defendant’s conduct, as set forth above, substantially interfered with
24
     Plaintiffs’ property.
25
                 73.     As a result, Plaintiffs were harmed and class members are entitled to
26
     restitution for their full share of proceeds.
27                                            17
                             FIFTH AMENDED CLASS ACTION COMPLAINT
28
        Case 3:13-cv-03826-EMC Document 932 Filed 04/19/19 Page 18 of 20



1
                74.     Defendant’s conduct was willful, wanton, malicious, and oppressive, and
2
     further justifies the awarding of exemplary and punitive damages.
3

4
                                            COUNT XIV
5
                                                Fraud
6
                75.     Plaintiffs reallege and incorporate by reference the allegations in the
7
     preceding paragraphs as if fully alleged herein.
8
                76.     Defendant made a false representation, that Plaintiffs would receive
9

10
     gratuities, which Defendant knew was a false representation at the time, with the intent to

11   defraud, which Plaintiffs justifiably relied upon, causing Plaintiffs to incur damages.

12

13                                           COUNT XV

14        Untrue or Misleading Advertising—Business and Professions Code § 17500

15              77.     Plaintiffs reallege and incorporate by reference the allegations in the
16   preceding paragraphs as if fully alleged herein.
17              78.     Defendants intended to perform services.
18              79.     Defendant disseminated advertising before the public in California that:
19   (a) contained statements that were illegal, untrue or misleading; (b) Defendant knew, or in
20   the exercise of reasonable care should have known, was illegal, untrue or misleading; (c)
21
     concerned the personal property or services or their disposition or performance; and (d) was
22
     likely to mislead or deceive a reasonable consumer. The illegal, untrue and/or misleading
23
     statements and representations made by Defendant include but are not limited to: Words
24
     stating or implying that tips are included in the fare, when in fact tips are not included.
25

26

27                                           18
                            FIFTH AMENDED CLASS ACTION COMPLAINT
28
            Case 3:13-cv-03826-EMC Document 932 Filed 04/19/19 Page 19 of 20



1
                                                COUNT XVI
2
                                Unpaid Minimum Wage Under the FLSA
3
                    80.     Defendant’s willful conduct in failing to ensure its employees receive the
4
        federal minimum wage, and requiring its employees to pay for the expenses of their
5
        employment (all of which contribute to them not receiving the federal minimum wage),
6
        violates the FLSA, 29 U.S.C. § 201, et seq. This claim is brought on behalf of a class of
7
        similarly situated individuals who have worked for Uber in California and may choose to
8
        “opt in” to this case, pursuant to 29 U.S.C. § 216(b).
9

10

11                                             COUNT XVII

12                                  Unpaid Overtime Under the FLSA

13                  81.     The Fair Labor Standards Act, 29 U.S.C. §207(a)(1), states that an

14      employee must be paid overtime, equal to one and one-half (1.5) times the employee’s

15      regular rate of pay, for all hours worked in excess of 40 per week. Plaintiffs sometimes
16      worked in excess of forty (40) hours per week but were not paid premium pay for all hours
17      worked over 40 in a week. As a direct and proximate result of Defendant’s unlawful conduct,
18      Plaintiffs have suffered lost wages and other damages. This claim is brought on behalf of a
19      class of similarly situated individuals who may choose to “opt-in” to this case, pursuant to 29
20      U.S.C. § 216(b).
21

22                                       PRAYER FOR RELIEF

23              WHEREFORE, Plaintiffs request that this Court certify this case as a class action,

24   pursuant to Fed. R. Civ. P. 23; certify this case a collective action pursuant to 29 U.S.C.

25   § 216(b); award restitution for all charged gratuities which were not remitted to the drivers;
26   award reimbursement that the drivers who were misclassified as independent contractors were
27                                               19
                                FIFTH AMENDED CLASS ACTION COMPLAINT
28
              Case 3:13-cv-03826-EMC Document 932 Filed 04/19/19 Page 20 of 20



1
     required to bear; award pre- and post-judgment interest; award reasonable attorneys’ fees, costs,
2
     and expenses; and award any other relief to which the plaintiffs may be entitled.
3

4

5

6

7
                                                    Respectfully submitted,

8                                                   MATTHEW MANAHAN and ELIE GURFINKEL,
                                                    individually and on behalf of all others similarly
9                                                   situated,
10
                                                    By their attorneys,
11
                                                    _/s/ Shannon Liss-Riordan_______________
12                                                  Shannon Liss-Riordan, SBN 310719
                                                    Adelaide Pagano, pro hac vice
13
                                                    LICHTEN & LISS-RIORDAN, P.C.
14                                                  729 Boylston Street, Suite 2000
                                                    Boston, MA 02116
15                                                  (617) 994-5800
                                                    Email: sliss@llrlaw.com, apagano@llrlaw.com
16

17

18   Dated:          April 19, 2019
19

20

21                                     CERTIFICATE OF SERVICE
22            I hereby certify that a copy of this document was served by electronic filing on April 19,
23
     2019, on all counsel of record.
24
                                                    _/s/ Shannon Liss-Riordan_______________
25                                                  Shannon Liss-Riordan, Esq.
26

27                                                20
                                 FIFTH AMENDED CLASS ACTION COMPLAINT
28
